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                           UNITED STATES BANKRUPTCY COURT
                                              Southern District of Georgia

In the matter of:

Paul Darshan Sharma
Chapter 7 Case No. 18−50834−MJK
       Debtor(s)

The Kaspers Firm, LLC
Edward Scott
Debbie Richards
       Plaintiff(s)
                                                              Adversary Proceeding
vs.                                                           No. 19−05002−MJK
Paul Darshan Sharma
       Defendant(s)




      NOTICE OF NON−COMPLIANCE WITH MANDATORY ELECTRONIC FILING

Tyler B. Kaspers
152 New Street, Suite 109B
Macon, GA 31201

RE: Case No. 19−05002−MJK and Document/Pleading: Adversary Complaint (Dckt #1)

Despite notice of the Court's General Order 2016−2 (IN RE: Electronic Case Filing and Administrative Procedures), counsel has
failed to file the above−noted document in electronic form. All documents must be filed in electronic form unless otherwise
permitted. Your document has not been permitted to be filed conventionally.
While the Court has authorized its Clerk's office to accept your paper filing, if you are not a registered CM/ECF filer, you have
fourteen(14) days to register for a CM/ECF filing account and comply with the Court's Administrative Procedures for filing by
electronic means. If unable to comply with electronic filing procedures, you may file a "Request for Leave to File Conventionally"
under Administrative Procedure I(A)(4) set forth below. If you are a registered ECF filer, you have fourteen (14) days to show
cause why a waiver was not obtained. You must file a statement setting forth the circumstances preventing electronic filing or
file a "Request for Leave to File Conventionally" under Administrative Procedure I(A)(4) which states:



                      An attorney may apply to the assigned judge for permission to file documents
                      conventionally. Even if the assigned judge initially grants an attorney permission to
                      file documents conventionally, the assigned judge may withdraw that permission at
                      any time and require the attorney to file documents electronically using the CM/ECF
                      system. An attorney seeking the Court's permission to file conventionally, rather than
                      electronically, will file a paper "Request for Leave to File Conventionally" setting forth
                      in detail the reasons supporting the request, together with a proposed "Order
                      Granting Leave to File Conventionally." Such requests will be provided to the deputy
                      in charge of the divisional office to which the filer's case is assigned.
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Failure to comply may result in sanctions being imposed.

Attorneys not admitted to practice in the Southern District of Georgia must first comply with pro hac vice admission
requirements prior to seeking permission to file documents conventionally.

For more information on electronic filing and Administrative Procedures please, visit the Court's website at
www.gasb.uscourts.gov.




                                                                                    Lucinda Rauback, CLERK
                                                                                    United States Bankruptcy Court
                                                                                    801 Gloucester St, Rm 314
                                                                                    Brunswick, GA 31520
Dated April 23, 2019
B−87 [Rev. 12/17] LLH
